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 7

 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:19-MJ-103-EFB
12                                 Plaintiff,            STIPULATION FOR EXTENSION OF TIME FOR
                                                         PRELIMINARY HEARING FOR IVAN
13                           v.                          CORVERA-BENITEZ PURSUANT TO RULE
                                                         5.1(d) AND EXCLUSION OF TIME
14   EDGAR MUNGUIA (a/k/a Gildardo Barrios)
     MARISA MUNGUIA                                      DATE: September 18, 2019
15   MARIA DOLORES BARRIOS-ALVAREZ                       TIME: 2:00 p.m.
     JOSEVAN ARIAS                                       COURT: Hon. Carolyn K. Delaney
16
     IVAN CORVERA-BENITEZ
17   ANTONIO SOTO-PEREZ
     ELMER RODRIGUEZ-COLIO,
18
                                  Defendants.
19

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21          Plaintiff United States of America, by and through its attorney of record, Assistant United States

22 Attorney James R. Conolly, and defendant Ivan CORVERA-BENITEZ, individually and by and through

23 his counsel of record, Kelly Babineau, hereby stipulate as follows:

24          1.       The Complaint in this case was filed on July 3, 2019, and the defendant first appeared

25 before a judicial officer of the Court in which the charges in this case were pending on August 28, 2019.

26 The court set a preliminary hearing date of September 18, 2019. Three other defendants in this matter,

27 Edgar MUNGUIA (a/k/a Gildardo Barrios), Marisa MUNGUIA, and Antonio SOTO-PEREZ, appeared

28 in this matter on July 12, 2019, and the date for their preliminary hearing, currently also set for

      STIPULATION                                         1
                 Case 2:19-mj-00103-EFB Document 32 Filed 09/17/19 Page 2 of 4


 1 September 18, 2019, is the subject of a separate stipulation and order. The three remaining defendants

 2 charged in the Complaint, listed in the caption above, have not yet appeared in this case, and therefore

 3 no preliminary hearings have been set with respect to those defendants.

 4          2.       By this stipulation, the United States and CORVERA-BENITEZ jointly move for an

 5 extension of time of the preliminary hearing date to October 10, 2019, at 2:00 p.m., before the duty

 6 Magistrate Judge, pursuant to Rule 5.1(d) of the Federal Rules of Criminal Procedure. The parties

 7 stipulate that the delay is required to allow the defense reasonable time for preparation, and for the

 8 government’s continuing investigation of the case. The parties further agree that the interests of justice

 9 served by granting this continuance outweigh the best interests of the public and the defendant in a

10 speedy trial. 18 U.S.C. § 3161(h)(7)(A).

11          3.       The parties agree that good cause exists for the extension of time, and that the extension

12 of time would not adversely affect the public interest in the prompt disposition of criminal cases.

13 Therefore, the parties request that the time between September 18, 2019, and October 10, 2019, be

14 excluded pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv), Local Code T-4.

15          IT IS SO STIPULATED.

16
      Dated: September 16, 2019                               MCGREGOR W. SCOTT
17                                                            United States Attorney
18                                                            /s/ JAMES R. CONOLLY
                                                              JAMES R. CONOLLY
19                                                            Assistant United States Attorney
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      Dated: September 16, 2019                               /s/ KELLY BABINEAU
21                                                            KELLY BABINEAU
22                                                            Counsel for Defendant
                                                              IVAN CORVERA-BENITEZ
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      STIPULATION                                         2
              Case 2:19-mj-00103-EFB Document 32 Filed 09/17/19 Page 3 of 4


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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                      EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:19-MJ-103-EFB
12                                 Plaintiff,             FINDINGS AND ORDER EXTENDING TIME FOR
                                                          PRELIMINARY HEARING FOR IVAN
13                          v.                            CORVERA-BENITEZ PURSUANT TO RULE
                                                          5.1(d) AND EXCLUDING TIME
14   EDGAR MUNGUIA (a/k/a Gildardo Barrios)
     MARISA MUNGUIA                                       DATE: September 18, 2019
15   MARIA DOLORES BARRIOS-ALVAREZ                        TIME: 2:00 p.m.
     JOSEVAN ARIAS                                        COURT: Hon. Carolyn K. Delaney
16
     IVAN CORVERA-BENITEZ
17   ANTONIO SOTO-PEREZ
     ELMER RODRIGUEZ-COLIO,
18
                                  Defendants.
19

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21          The Court has read and considered the Stipulation for Extension of Time for Preliminary Hearing

22 Pursuant to Rule 5.1(d) and Exclusion of Time, filed by the parties in this matter on September 16, 2019.

23 The Court hereby finds that the Stipulation, which this Court incorporates by reference into this Order,

24 demonstrates good cause for an extension of time for the preliminary hearing date pursuant to Rule

25 5.1(d) of the Federal Rules of Criminal Procedure.

26          Furthermore, for the reasons set forth in the parties’ stipulation, the Court finds that the interests

27 of justice served by granting this continuance outweigh the best interests of the public and the defendant

28 in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). The Court further finds that the extension of time would

      [PROPOSED] FINDINGS AND ORDER                        1
                 Case 2:19-mj-00103-EFB Document 32 Filed 09/17/19 Page 4 of 4


 1 not adversely affect the public interest in the prompt disposition of criminal cases.

 2          THEREFORE, FOR GOOD CAUSE SHOWN:

 3          1.       The date of the preliminary hearing is extended to October 10, 2019, at 2:00 p.m.

 4          2.       The time between September 18, 2019, and October 10, 2019, shall be excluded from

 5 calculation pursuant to 18 U.S.C. § 3161(h)(7)(A).

 6          3.       Defendants shall appear at that date and time before the Magistrate Judge on duty.

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 8          IT IS SO ORDERED.

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10 Dated: September 16, 2019

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      [PROPOSED] FINDINGS AND ORDER                      2
